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                                             CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                         Before the Honorable Steven C. Yarbrough
                                                      Initial Appearance
Case Number:                19-CR-77 JB                           UNITED STATES vs. NISSEN
Hearing Date:               11/17/2021                            Time In and Out:          11:11 am – 11:30 am
Courtroom Deputy:           K. Dapson                             Courtroom:                Hondo
Defendant:                  Michael Nissen                        Defendant’s Counsel:      Ashley Reymore-Cloud
AUSA:                       Alex Uballez                          Pretrial/Probation:       C. Duarte
Interpreter:                                                      Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☒     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☒     Government moves to detain                                  ☐ Government does not recommend detention
      Set for Preliminary Revocation/Identity/Detention           on Wednesday, November 24,
☒     Hearing                                                     2021
                                                                                                    @ 11:00 am

Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
☒     Defendant detained pending hearing
☐     Conditions
Other
☐     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☐
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☐
